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____________________________________________________________________________
                                                SO ORDERED,




                                                Judge Jason D. Woodard
                                                United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________
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